Case 1:22-mc-00096-RC Document 1-32 Filed 10/17/22 Page 1 of 4




           EXHIBIT A-32
       Case 1:22-mc-00096-RC Document 1-32 Filed 10/17/22 Page 2 of 4




              DISTRICT OF COLUMBIA COURT OF APPEALS

              BOARD ON PROFESSIONAL RESPONSIBILITY                         Sep 1 2022 4:55pm



In the Matter of

JEFFREY B. CLARK                                 Disciplinary Docket No.

A Member of the Bar of the District              2021-D193
of Columbia Court of Appeals

Bar No. 455315

Date of Admission: July 7, 1997


             MOTION TO FILE ANSWER UNDER SEAL

      Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and

requests that his Answer be filed under seal.




      Respectfully submitted this 1 day of September, 2022.

/s/ Charles Burnham                        Robert A. Destro*
Charles Burnham                            Ohio Bar #0024315
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      Case 1:22-mc-00096-RC Document 1-32 Filed 10/17/22 Page 3 of 4




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       Case 1:22-mc-00096-RC Document 1-32 Filed 10/17/22 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Motion to File Answer Under Seal by U.S. First Class Mail with

sufficient postage thereon to insure delivery, and by email addressed to:

      Hamilton P. Fox
      Jason R. Horrell
      D.C. Bar
      Building A, Room 117
      515 5th Street NW
      Washington DC 20001
      foxp@dcodc.org

      This this 1 day of September, 2022.


                                       /s/ Charles Burnham
                                       Charles Burnham
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